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                         UN ITED STA TES D ISTRICT CO URT FOR TH E
                              SOU THERN DISTRICT O F FLO RIDA
                                      M IA M ID IV ISION

                     C ase Num ber: 16-25143-C 1V-M A RTlN EZ-G O O DM AN

 JESU S H ERN AN D EZ,

        Plaintiff5



 H EA LTH CAR E REV EN U E RECO V ERY
 G ROU P,LLC,

        D efkndant.


                 FIN A L O R D ER O F D ISM ISSA L W ITH PREJUD ICE AN D
                 O RD ER D EN Y ING A LL PEND ING M O TIO NS A S M O O T

        THIS M ATTER is before the Courtupon the parties'JointStipulation forD ism issalw ith

 PrejudiceLD.E.No.211.ltis:
        A DJU DG ED thatthis action isD ISM ISSED W ITH PR EJUD IC E. Each party shall

 bearhis/her/its ow n attorney's feesand costs. Itis also:

        AD JU DG ED thatallpending m otions in thiscase are D EN IED A S M O O T,and this

 case isC LO SED .

    DONEAND ORDERED inChambersatMiami,Florida,this X ( dayofSeptember,2017.

                                                              l


                                                     JO SE . A RTIN E
                                                     UN ITE STATES D ISTRICT JU D GE

 Copiesprovided to:
 M agistrate Judge Goodm an
 A llCounselofRecord
